3/6/23, 4:09 PM                       Case 23-10399-mdc                Doc 31-1 Filed 05/23/23         Entered
                                                                                             Live Database Area  05/23/23 10:46:01   Desc
                                                                       Exhibit -U.S.
                                                                                Proof  of Claim     Page
                                                                                     Bankruptcy Court       1 of 43

                                                                                Eastern District of Pennsylvania

Notice of Electronic Claims Filing

The following transaction was received from NICHOLAS, BRIAN on 3/6/2023 at 4:09 PM EST

File another claim
Case Name:                                 Patricia A. Morris
Case Number:                               23-10399-mdc
                                           Rocket Mortgage, LLC f/k/a Quicken Loans, at. el
Creditor Name:                             635 Woodward Avenue
                                           Detroit MI 48226
Claim Number:                              2 Claims Register
Amount Claimed: $208,982.24
Amount Secured: $208982.24
Amount Priority:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:POC- Morris.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=3/6/2023] [FileNumber=31177568-0
] [a13e17504aa2407cd76f533bf6cac28f3c9881f8b4e4a7c025230693769aeffcf9e
cb4a3f2f446d03bcfc5c40b94d0a851f932b1ad1b19f3ef44f3cfb4cf0bcd]]
Document description:Exhibit 410a Payment History
Original filename:C:\fakepath\410a- Morris.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=3/6/2023] [FileNumber=31177568-1
] [137771786ff9ccf406fd50cff72447ce41c60874d3779e9ef6a6e48312b258371a7
3c5ea64bd2cd498d0fa7e917a41e1b23e5ebb373fb9dadbc53b120f891c92]]
Document description:Exhibit Escrow Analysis
Original filename:C:\fakepath\Escrow Analysis- Morris.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=3/6/2023] [FileNumber=31177568-2
] [6820352e79a46dff2b63109b983e3db8bed3e0f617e2b61bb6a317d577f135a42cf
7275af03221bfb6c0224145082c884c0dff3d33656d6390a2456be36dc291]]
Document description:Exhibit Loan Documents

https://ecf.paeb.uscourts.gov/cgi-bin/FilingClaims.pl?875160063995745-L_1_3-1                                                               1/2
3/6/23, 4:09 PM            Case 23-10399-mdc Doc 31-1 Filed 05/23/23             Entered
                                                                       Live Database Area  05/23/23 10:46:01   Desc
                                                 Exhibit
Original filename:C:\fakepath\Loan Documents- Morris.pdf - Proof of Claim     Page    2 of 43
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=3/6/2023] [FileNumber=31177568-3
] [3658a7ce96dfe59d655e43e727a4a0e6ef054e9ed71a0e40d34cf6f3331ff05806e
3e66575e3df368d49bdc267169a75254508f2c0c52cdbe2205563a6df99bb]]

23-10399-mdc Notice will be electronically mailed to:

ANDRE DOVER on behalf of Debtor Patricia A. Morris
kashlaw@aol.com, doverar87647@notify.bestcase.com

MICHAEL PATRICK FARRINGTON on behalf of Creditor Rocket Mortgage, LLC f/k/a Quicken Loans, LLC
mfarrington@kmllawgroup.com

United States Trustee
USTPRegion03.PH.ECF@usdoj.gov

KENNETH E. WEST
ecfemails@ph13trustee.com, philaecf@gmail.com

23-10399-mdc Notice will not be electronically mailed to:

Ally Bank, c/o AIS Portfolio Services, LLC
4515 N Santa Fe Ave. Dept. APS
Oklahoma City, OK 73118

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541




https://ecf.paeb.uscourts.gov/cgi-bin/FilingClaims.pl?875160063995745-L_1_3-1                                         2/2
                 Case 23-10399-mdc             Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                                                        Desc
  Fill in this information to identify the case: Exhibit - Proof of Claim Page 3 of 43
                        PATRICIA A MORRIS
  Debtor 1              _______________________________________________________________________________________________________________________


  Debtor 2              _______________________________________________________________________________________________________________________
  (Spouse, if filing)

                                           Eastern
  United States Bankruptcy Court for the: ______________________              Pennsylvania
                                                                 District of ____________________
                                                                                          (State)
  Case number           23-10399 MDC




 Official Form 410
 Proof of Claim                                                                                                                                                    04/22

Read the instructions before filling out this form. Use this form to make a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
The law requires that filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted
copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts,
contracts, judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents
are not available, explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

 Part 1:        Identify the Claim

1. Who is the current
                                        Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc.
    creditor?
                                        Name of the current creditor (the person or entity to be paid for this claim)


                                        ___________________________________________________________________________________________________________
                                        Other names the creditor used with the debtor
2. Has this claim been
   acquired from
                                       
                                       ✔   No
   someone else?                          Yes. From whom?         ______________________________________________________________________________________________________


3. Where should notices                Where should notices to the creditor be sent?                              Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                       Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans_____________________________________________________
                                                                                                         Inc.
   Federal Rule of                     Name                                                                       Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                      635 Woodward Avenue
                                       ______________________________________________________                     ______________________________________________________
                                       Number      Street                                                         Number      Street
                                       Detroit                            MI                 48226
                                       ______________________________________________________                     ______________________________________________________
                                       City                       State             ZIP Code                      City                       State             ZIP Code

                                                        1-800-508-0944
                                       Contact phone    ________________________                                  Contact phone   ________________________
                                                     bankruptcyquestions@rocketmortgage.com
                                       Contact email  ________________________                                    Contact email   ________________________



                                       Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                       __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend               
                                       ✔   No
   one already filed?
                                          Yes. Claim number on court claims registry (if known) ________                               Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone               
                                       ✔   No
   else has filed a proof                 Yes. Who made the earlier filing?          _____________________________
   of claim for this claim?
             Case 23-10399-mdc                  Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                                        Desc
                                                Exhibit - Proof of Claim Page 4 of 43



 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____
                                 ✔                                                                                           7    2
                                                                                                                                 ____  7
                                                                                                                                      ____  4
                                                                                                                                           ____
   debtor?


7. How much is the claim?           208,982.24
                                   $_____________________________. For leases state only the amount of default.

                                                                            Does this amount include interest or other charges?
                                                                               No
                                                                            
                                                                            ✔   Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                     charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as healthcare information.

                                 Money Loaned
                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                      
                                 ✔ Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                           ✔
                                                Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          RECORDED MORTGAGE
                                                                          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________
                                                                                          208,982.24

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                     amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               1,911.19
                                                                                                                             $____________________


                                                                                       4.500
                                           Annual Interest Rate (when case was filed)_______%
                                           ✔
                                                Fixed
                                               Variable



10. Is this claim based on a      No
                                 ✔
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                 $____________________


11. Does this claim involve      
                                 ✔ No
    a right to setoff?
                                  Yes. Explain: _______________________________________________________________________________
             Case 23-10399-mdc                        Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                                                             Desc
                                                      Exhibit - Proof of Claim Page 5 of 43



12. Is all or part of the claim     No
                                   ✔
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                                            Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                           $____________________
   nonpriority. For example,
   in some categories, the                   Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                                       $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                                $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                            $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                                $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                                $____________________

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts            I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157 and        I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                  Executed on date               03/06/2023
                                                           MM / DD       /   YYYY




                                           /s/ Brian C. Nicholas, Equire
                                          Signature


                                  Print the name of the person who is completing and signing this claim:


                                  Name                    Brian C. Nicholas
                                                          First name                                 Middle name                                  Last name


                                  Title                   Bankruptcy Attorney
                                                          KML Law Group, P.C.
                                  Company
                                                          Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                 701 Market Street, Suite 5000
                                                          Number               Street

                                                          Philadelphia                                                    PA                      19106_
                                                          City                                                                  State             ZIP Code

                                  Contact phone           201-549-5366                                                          Email             bnicholas@kmllawgroup.com
           Case 23-10399-mdc                    Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                        Desc
                                                Exhibit - Proof of Claim Page 6 of 43

                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


               PATRICIA A MORRIS                                                       CHAPTER 13

                                                   Debtor(s)                    NO. 23-10399 MDC




                                                        CERTIFICATE OF SERVICE

                           I, the undersigned, attorney for Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans
               Inc. do hereby certify that true and correct copies of the foregoing Proof of Claim have been served March
               06, 2023, by electronic filing upon those listed below:

                    Attorney for Debtor(s)
                    Andre Dover
                    10 Canal Street Suite 204
                    Kashkashian & Associates
                    Bristol, PA 19007



                    Bankruptcy Trustee
                    Kenneth E. West
                    Office of the Chapter 13 Standing Trustee (VIA ECF)
                    1234 Market Street - Suite 1813
                    Philadelphia, PA 19107

                    Date: March 06, 2023

                                                                 /s/Brian C. Nicholas Esquire
                                                                 Brian C. Nicholas Esquire
                                                                 Attorney I.D. 317240
                                                                 KML Law Group, P.C.
                                                                 BNY Mellon Independence Center
                                                                 701 Market Street, Suite 5000
                                                                 Philadelphia, PA 19106
                                                                 201-549-5366
                                                                 bnicholas@kmllawgroup.com




                                                                                                                                244
Official Form 410                                              Proof of Claim                                              page 3
                                                      Case 23-10399-mdc                         Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                                    Desc
                                                                                                Exhibit - Proof of Claim Page 7 of 43
   Mortgage Proof of Claim Attachment                                                                                                                                                                                           (12/15)
   If you file a claim secured by a security interest in the debtor’s principal residence, you must use this form as an attachment to your proof of claim. See separate instructions.

   Part 1: Mortgage and Case Information                                      Part 2: Total Debt Calculation                   Part 3: Arrearage as of Date of the Petition               Part 4: Monthly Mortgage Payment

   Case number: 23-10399 MDC                                                  Principal balance:             __________
                                                                                                             209,869.82        Principal & interest due:      ____________
                                                                                                                                                              1,144.27                    Principal & interest:        _____________
                                                                                                                                                                                                                        1,144.27

    Debtor 1: PATRICIA A MORRIS                                               Interest due:                  __________
                                                                                                             1,019.88          Prepetition fees due:          ____________
                                                                                                                                                              91.54                       Monthly escrow:                 524.49
                                                                                                                                                                                                                       _____________
                                                                                                                               Escrow deficiency for funds
                                                                              Fees, costs due:                                                                ____________                 Private mortgage
                                                                                                             __________
                                                                                                             91.54             advanced:                      0.00                                                     147.93
    Debtor 2:                                                                                                                                                                             insurance:                   _____________
                                                                              Escrow deficiency for                                                               675.38
                                                                                                                               Projected escrow shortage:     ____________
                                                                              funds advanced:                __________
                                                                                                             0.00                                                                         Total monthly                1,816.69
                                                                                                                                                                                          payment:                     _____________
    Last 4 digits to identify:           ___
                                         7   ___
                                             2 ___
                                                 7 ___
                                                    4                                                                          Less funds on hand:                0.00
                                                                              Pro Rata MIP/PMI:              __________
                                                                                                             144.97                                          - ____________
                  Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a
    Creditor:     Quicken Loans Inc.
                                                                                                             2,143.97          Total prepetition
                                                                              Less total funds on hand: – __________           arrearage:
                                                                                                                                                                  1,911.19
                                                                                                                                                              ____________
                  Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/a                                        208,982.24
   Servicer:      Quicken Loans Inc.                                          Total debt:                    __________


   Fixed accrual/daily
                                    Fixed Accrual
   simple interest/other:
 Part 5: Loan Payment History from First Date of Default
                              Account Activity                                                                  How Funds Were Applied/Amount Incurred                       Balance After Amount Received or Incurred
  A.         B.              C.            D.           E.                        F.             G.            H.         I.          J.           K.        L.              M.             N.         O.         P.               Q.
  Date Contractual Funds    Amount Description                                    Contractual Prin, int &  Amount Amount              Amount       Amount     Unapplied Principal Accrued Escrow Fees /  Unapplied
       payment     received incurred                                              due date    esc past due to        to               to           to fees or funds     balance interest balance Charges funds
       amount                                                                                 balance      principal interest         escrow       charges                        balance        balance balance
01/17/2022                                 45.77         LATE FEES                                9,160.53                                         45.77                                                          45.77

01/18/2022                    1,849.26                   Payment Received          01/01/2022     7,311.27     340.29     803.98      704.99                                 221,442.17                2,410.42   45.77            0.00

                                                         Payment Received
01/18/2022                                                                         01/01/2022     7,311.27                                                                   221,442.17                2,410.42   45.77            0.00
                                                         Payment Due
02/01/2022    1,849.26                                                             02/01/2022     9,160.53                                                                                                        45.77

02/04/2022                                 147.93        MI or PMI Disbursement    12/01/2022     9,160.53                            -147.93                                221,442.17                2,262.49   45.77            0.00

02/14/2022                    1,849.26                   Payment Received          02/01/2022     7,311.27     341.57     802.70      704.99                                 221,100.60                2,967.48   45.77            0.00

02/14/2022                                               Payment Received          02/01/2022     7,311.27                                                                   221,100.60                2,967.48   45.77            0.00

                                                         Payment Due
03/01/2022    1,849.26                                                             03/01/2022     9,160.53                                                                                                        45.77

03/04/2022                                 147.93        MI or PMI Disbursement    12/01/2022     9,160.53                            -147.93                                221,100.60                2,819.55   45.77            0.00

03/14/2022                    1,849.26                   Payment Received          03/01/2022     7,311.27     342.85     801.42      704.99                                 220,757.75                3,524.54   45.77            0.00

                                                         Payment Received
03/14/2022                                                                         03/01/2022     7,311.27                                                                   220,757.75                3,524.54   45.77            0.00
                                                         Lien/Tax Authority
03/31/2022                                 1,118.58      Disbursements             04/01/2022     7,311.27                            -1,118.58                              220,757.75                2,405.96   45.77            0.00
                                                         Payment Due
04/01/2022    1,849.26                                                             04/01/2022     9,160.53                                                                                                        45.77

                                                         MI or PMI Disbursement
04/04/2022                                 147.93                                  12/01/2022     9,160.53                            -147.93                                220,757.75                2,258.03   45.77            0.00


                                                                                                   Mortgage Proof of Claim Attachment
                                               Case 23-10399-mdc                        Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                            Desc
                                                                                        Exhibit - Proof of Claim Page 8 of 43

 Case number:                    23-10399

 Debtor 1:                       PATRICIA A MORRIS



Part 5 : Loan Payment History from First Date of Default

                      Account Activity                                                              How Funds Were Applied/Amount Incurred              Balance After Amount Received or Incurred
A.           B.       C.            D.           E.                       F.             G.         H.        I.         J.          K.       L.        M.            N.    O.         P.      Q.
Date Contractual Funds    Amount Description                              Contractual Prin, int &   Amount Amount        Amount      Amount     Unapplied Principal Accrued Escrow Fees /  Unapplied
     payment     received incurred                                        due date    esc past      to        to         to          to fees or funds     balance interest balance Charges funds
     amount                                                                           due           principal interest   escrow      charges                        balance        balance balance
                                                                                      balance
04/15/2022            1,849.26                   Payment Received         04/01/2022     7,311.27   344.13    800.14     704.99                         220,413.62          2,963.02   45.77   0.00

04/15/2022                                       Payment Received         04/01/2022     7,311.27                                                       220,413.62          2,963.02   45.77   0.00

                                                 Payment Due
05/01/2022 1,849.26                                                       05/01/2022     9,160.53                                                                                      45.77

05/05/2022                          147.93       MI or PMI Disbursement   12/01/2022     9,160.53                        -147.93                        220,413.62          2,815.09   45.77   0.00

05/16/2022            1,849.26                   Payment Received         05/01/2022     7,311.27   345.42    798.85     704.99                         220,068.20          3,520.08   45.77   0.00

05/16/2022                                       Payment Received         05/01/2022     7,311.27                                                       220,068.20          3,520.08   45.77   0.00

06/01/2022 1,849.26                              Payment Due              06/01/2022     9,160.53                                                                                      45.77

06/03/2022                          147.93       MI or PMI Disbursement 12/01/2022       9,160.53                        -147.93                        220,068.20          3,372.15   45.77   0.00

06/14/2022            1,849.26                   Payment Received         06/01/2022     7,311.27   346.72    797.55     704.99                         219,721.48          4,077.14   45.77   0.00

06/14/2022                                       Payment Received         06/01/2022     7,311.27                                                       219,721.48          4,077.14   45.77   0.00

07/01/2022 1,849.26                              Payment Due              07/01/2022     9,160.53                                                                                      45.77

                                                 MI or PMI Disbursement
07/04/2022                          147.93                                12/01/2022     9,160.53                        -147.93                        219,721.48          3,929.21   45.77   0.00

                                                 Payment Received
07/15/2022            1,849.26                                            07/01/2022     7,311.27   348.02    796.25     704.99                         219,373.46          4,634.20   45.77   0.00

07/15/2022                                       Payment Received         07/01/2022     7,311.27                                                       219,373.46          4,634.20   45.77   0.00

08/01/2022 1,849.26                              Payment Due              08/01/2022     9,160.53                                                                                      45.77

08/02/2022                          3,804.67     Lien/Tax Authority       08/01/2022     9,160.53                        -3,804.67                      219,373.46          829.53     45.77   0.00
                                                 Disbursements

08/05/2022                          147.93       MI or PMI Disbursement    12/01/2022    9,160.53                        -147.93                        219,373.46          681.60     45.77   0.00

08/15/2022            1,849.26                   Payment Received          08/01/2022    7,311.27   349.32    794.95     704.99                         219,024.14          1,386.59   45.77   0.00

08/15/2022                                       Payment Received                        7,311.27                                                       219,024.14          1,386.59   45.77   0.00
                                                                           08/01/2022

09/01/2022 1,849.26                              Payment Due               09/01/2022    9,160.53                                                                                      45.77
                                               Case 23-10399-mdc                        Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                            Desc
                                                                                        Exhibit - Proof of Claim Page 9 of 43

 Case number:                    23-10399

 Debtor 1:                       PATRICIA A MORRIS



Part 5 : Loan Payment History from First Date of Default

                      Account Activity                                                              How Funds Were Applied/Amount Incurred              Balance After Amount Received or Incurred
A.           B.       C.            D.           E.                       F.             G.         H.        I.         J.          K.       L.        M.            N.    O.         P.      Q.
Date Contractual Funds    Amount Description                              Contractual Prin, int &   Amount Amount        Amount      Amount     Unapplied Principal Accrued Escrow Fees /  Unapplied
     payment     received incurred                                        due date    esc past      to        to         to          to fees or funds     balance interest balance Charges funds
     amount                                                                           due           principal interest   escrow      charges                        balance        balance balance
                                                                                      balance
09/03/2022                          147.93       MI or PMI Disbursement   12/01/2022     9,160.53                        -147.93                        219,024.14          1,238.66   45.77   0.00

09/16/2022                          45.77        LATE FEES                               9,160.53                                    45.77                                             91.54

                                                 LATE FEES
09/21/2022            45.77                                                              9,160.53                                    -45.77                                            45.77

09/21/2022            1,849.26                   Payment Received         09/01/2022     7,311.27   350.63    793.64     704.99                         218,673.51          1,943.65   45.77   0.00

09/21/2022                                       Payment Received         09/01/2022     7,311.27                                                       218,673.51          1,943.65   45.77   0.00

09/22/2022            1,849.26                   Payment Received         10/01/2022     5,462.01   351.95    792.32     704.99                         218,321.56          2,648.64   45.77   0.00

09/22/2022                                       Payment Received         10/01/2022     5,462.01                                                       218,321.56          2,648.64   45.77   0.00

10/01/2022 1,849.26                              Payment Due              10/01/2022     7,311.27                                                                                      45.77

10/04/2022                                       NSF Application Reversal 11/01/2022     7,311.27                                                       218,321.56          2,648.64   45.77   0.00

10/04/2022                          1,849.26     NSF Application Reversal 10/01/2022     9,160.53   -351.95   -792.32    -704.99                        218,673.51          1,943.65   45.77   0.00

10/05/2022                          147.93       MI or PMI Disbursement   12/01/2022     9,160.53                        -147.93                        218,673.51          1,795.72   45.77   0.00

                                                 Disbursement to
10/13/2022                          420.69                                               9,160.53                        -420.69                        218,673.51          1,375.03   45.77   0.00
                                                 Mortgagor
                                                 Payment Received
10/14/2022            1,849.26                                            10/01/2022     7,311.27   351.95    792.32     704.99                         218,321.56          2,080.02   45.77   0.00

10/14/2022                                       Payment Received         10/01/2022     7,311.27                                                       218,321.56          2,080.02   45.77   0.00

10/31/2022                          1,406.00     Hazard Insurance         11/01/2023     7,311.27                        -1,406.00                      218,321.56          674.02     45.77   0.00
                                                 Disbursements
11/01/2022 1,849.26                              Payment Due              11/01/2022     9,160.53                                                                                      45.77

11/04/2022                          147.93       MI or PMI Disbursement    12/01/2022    9,160.53                        -147.93                        218,321.56          526.09     45.77   0.00

11/15/2022            1,849.26                   Payment Received          11/01/2022    7,311.27   353.27    791.00     704.99                         217,968.29          1,231.08   45.77   0.00

11/15/2022                                       Payment Received                        7,311.27                                                       217,968.29          1,231.08   45.77   0.00
                                                                           11/01/2022

12/01/2022 1,819.65                              Payment Due               12/01/2022    9,130.92                                                                                      45.77
                                             Case 23-10399-mdc                       Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01                           Desc
                                                                                     Exhibit - Proof of Claim Page 10 of 43

 Case number:                    23-10399

 Debtor 1:                       PATRICIA A MORRIS



Part 5 : Loan Payment History from First Date of Default

                      Account Activity                                                            How Funds Were Applied/Amount Incurred            Balance After Amount Received or Incurred
A.           B.       C.            D.         E.                       F.            G.          H.        I.         J.        K.       L.        M.            N.    O.         P.      Q.
Date Contractual Funds    Amount Description                            Contractual Prin, int &   Amount Amount        Amount    Amount     Unapplied Principal Accrued Escrow Fees /  Unapplied
     payment     received incurred                                      due date    esc past      to        to         to        to fees or funds     balance interest balance Charges funds
     amount                                                                         due           principal interest   escrow    charges                        balance        balance balance
                                                                                    balance
12/03/2022                          147.93     MI or PMI Disbursement   12/01/2022    9,130.92                         -147.93                      217,968.29          1,083.15   45.77   0.00

12/15/2022            1,819.65                 Payment Received         12/01/2022    7,311.27    354.59    789.68     675.38                       217,613.70          1,758.53   45.77   0.00

                                               Payment Received
12/15/2022                                                              12/01/2022    7,311.27                                                      217,613.70          1,758.53   45.77   0.00

01/01/2023 1,819.65                            Payment Due              01/01/2023    9,130.92                                                                                     45.77

01/05/2023                          144.97     MI or PMI Disbursement   12/01/2023    9,130.92                         -144.97                      217,613.70          1,613.56   45.77   0.00

01/16/2023                          45.77      LATE FEES                              9,130.92                                   45.77                                             91.54

01/25/2023            1,819.65                 Payment Received         01/01/2023    7,311.27    355.92    788.35     675.38                       217,257.78          2,288.94   91.54   0.00

01/25/2023                                     Payment Received         01/01/2023    7,311.27                                                      217,257.78          2,288.94   91.54   0.00

02/01/2023 1,819.65                            Payment Due              02/01/2023    9,130.92                                                                                     91.54

02/03/2023                          144.97     MI or PMI Disbursement   12/01/2023    9,130.92                         -144.97                      217,257.78          2,143.97   91.54   0.00
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 11 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 12 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 13 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 14 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 15 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 16 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 17 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 18 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 19 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 20 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 21 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 22 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 23 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 24 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 25 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 26 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 27 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 28 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 29 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 30 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 31 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 32 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 33 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 34 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 35 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 36 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 37 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 38 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 39 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 40 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 41 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 42 of 43
Case 23-10399-mdc   Doc 31-1 Filed 05/23/23 Entered 05/23/23 10:46:01   Desc
                    Exhibit - Proof of Claim Page 43 of 43
